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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N” (5)
                                                               :   JUDGE 0,/$==2
                                                               :   MAG. JUDGE NORTH
PHYLLIS A. STACY                                      ,        :
                                                               :   COMPLAINT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.: ________________
                                                                                     2:17-cv-03401
vs.                                                            :
                                                               :
 SANOFI US SERVICES, INC., et al, and                          :
 SAGENT PHARMACEUTICALS                               ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                 $0(1'('SHORT FORM COMPLAINT (Effective as of January 4, 2018)1

         Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on July 25, 2017. Pursuant to Pretrial Order No. 15,

this Short Form Complaint adopts allegations and encompasses claims as set forth in the Amended

Master Long Form Complaint against Defendant(s).

         Plaintiff(s) further allege as follows:

    1.      Plaintiff:

             Phyllis A. Stacy


2.         Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

           of consortium):

           ___________________________________________________________________________________



1
         This version of the Short Form Complaint supersedes all prior versions of the form
         pursuant to Pretrial Order No. 73. This Court-approved version of the Short Form
         Complaint is available on the Court’s Taxotere webpage and through MDL Centrality.
                                                         1
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3.       Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

         conservator):



 4.      Current State of Residence: Ohio

 5.      State in which Plaintiff(s) allege(s) injury: Ohio

 6.      Defendants (check all Defendants against whom a Complaint is made):

         a.     Taxotere Brand Name Defendants

                 X       A.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                 X       B.     Sanofi-Aventis U.S. LLC

         b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                         A.     Sandoz Inc.

                         B.     Accord Healthcare, Inc.

                         C.     McKesson Corporation d/b/a McKesson Packaging

                         D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                         E.     Hospira, Inc.

                         F.     Sun Pharma Global FZE

                         G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                                Laboratories Ltd.
                         H.     Pfizer Inc.

                 9       I.     Actavis LLC f/k/a Actavis Inc.

                 9       J.     Actavis Pharma, Inc.

                 X       K.     Other:
                                          Sagent Pharmaceuticals




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7.      Basis for Jurisdiction:

        X        Diversity of Citizenship

                 Other (any additional basis for jurisdiction must be pled in sufficient detail as
                 required by the applicable Federal Rules of Civil Procedure):




8.      Venue:

        District Court and Division in which remand and trial is proper and where you might
        have otherwise filed this Short Form Complaint absent the direct filing Order entered by
        this Court:
                                            Southern District of Ohio




9.      Brand Product(s) used by Plaintiff (check applicable):

                 A.     Taxotere

                 B.     Docefrez

        X        C.     Docetaxel Injection

                 D.     Docetaxel Injection Concentrate

                 E.     Unknown

                 F.     Other:




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10.      First date and last date of use (or approximate date range, if specific dates are
         unknown) for Productcs identified in question 9:


             April 7, 2014 - July 28, 2014




11.      State in which Product(s) identified in question 9 was/were administered:

             Ohio




12.           Nature and extent of alleged injury (including duration,
              approximate date of onset (if known), and description of alleged
              injury):

             In March 2014, Plaintiff was diagnosed with ovarian cancer in
             Columbus, OH. Upon information and belief, Plaintiff underwent
             chemotherapy with docetaxel (TAXOTERE®) and/or a generic
             non-bioequivalent on or about April 2014. As a result of Defendants’
             wrongful conduct, Plaintiff has continued to suffer and will suffer in
             the future from disfiguring permanent alopecia as a result of
             receiving chemotherapy with docetaxel (TAXOTERE®) and/or a
             generic non-bioequivalent of same.




13.           Counts in Master Complaint brought by Plaintiff(s):

              X     Count I – Strict Products Liability - Failure to Warn
              X     Count III – Negligence
              X     Count IV – Negligent Misrepresentation
              X     Count V – Fraudulent Misrepresentation
              X     Count VI – Fraudulent Concealment
              X     Count VII – Fraud and Deceit




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                   Other: Plaintiff(s) may assert the additional theories
                   and/or State Causes of Action against Defendant(s)
                   identified by selecting “Other” and setting forth such
                   claims below. If Plaintiff(s) includes additional theories
                   of recovery, for example, Redhibition under Louisiana
                   law or state consumer protection claims, the specific facts
                   and allegations supporting additional theories must be
                   pleaded by Plaintiff in sufficient detail as required by
                   the applicable Federal Rules of Civil Procedure.




14.      Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
         Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                        By: John J. Foley
                                            SIMMONS HANLY CONROY
                                            One Court Street
                                            Alton, IL 62002
                                            Telephone (618) 259-2222
                                            Facsimile (618) 259-2251
                                            jfoley@simmonsfirm.com
                                            Attorney for Plaintiff




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